UNITED STATES DISTRICT COURT
Eastern District of Tennessee

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JASON JENNINGS MELTON CASE NUMBER: 3:10-CR126.
Petitioner & 3:18-CV-347
V,
UNITED STATES OF AMERICA Motion for Extension
MOTION FOR EXTENTION

(for a legitimate unavoidable reason)

COMES NOW, the Petitioner, in a motion filed in a pro se manner, requesting for a thirty-day
extension to the deadline of the AUSA’s Response in opposition to Petitioners 28 U.S.C. §2255
motion,

The Petitioner is currently in the process of being transferred from one institution to the next and
is unable to access the proper legal materials and information required to properly prepare a
substantial Reply to the AUSA’s January 15, 2019 Response.

Though the Petitioner does wish to notify the court and the AUSA of his intent to
petition the court to dismiss the AUSA’s Response and Motion for Extension Nunc Pro Tunc as
time barred. The Petitioner does recognize the irony of the AUSA’s most prominent ground
raised in the extremely late Response in Opposition to Petitioner’s 28 USC §2255 Motion. This
main ground being that the Petitioner is time barred in the AUSA’s Response that itself is
extremely late coming more than four (4) months after the date Petitioner’s 2255 Motion was
filed.

The Petitioner does not have an extensive amount of knowledge concerning Federal
Law or Court Procedures, but he does wonder as to when exactly incompetence became enough
legal grounds for consideration of extensions?

The Petitioner prays that his Motion for Extension (for a legitimate and unavoidable
reason) be granted by this honorable court.

Dated: January 18, 2018

on Melton #43171-074
USP Canaan, PO Box 300, Waymart, PA 18472

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